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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 SONRAI SYSTEMS, LLC,

                    Plaintiff,                             Case No. 1:21-CV-02575

            vs.

 WASTE CONNECTIONS, INC.,                                  Hon. John Robert Blakey

                    Defendant.



   MOTION FOR SUBSTITUTION OF COUNSEL AND FOR EXTENSION OF TIME

       Plaintiff, Sonrai Systems, LLC (“Plaintiff” or “Sonrai”), by and through its attorneys,

moves this Court pursuant to Local Rule 83.17, for leave to substitute counsel in the above-

captioned matter. Plaintiff respectfully requests the entry of an order withdrawing the appearances

of Edward T. Joyce, Rowena T. Parma, and Victoria Patreese Worley of Edward T. Joyce &

Associates P.C. and Joan M. Mannix of Joan M. Mannix, Ltd., and granting leave for the

appearances of J. Scott Humphrey, Katie Burnett, Samuel Ruggio, and Samantha Roth of Benesch,

Friedlander, Coplan & Aronoff LLP to be filed on Plaintiff’s behalf. Plaintiff further requests that

the court schedule a status conference on Defendant Waste Connection, Inc.’s (“WCI”) Motion to

Dismiss or, in the alternative, enter an order extending the time by which Plaintiff must respond

to WCI’s Motion to February 18, 2022. In support of this Motion, Plaintiff states as follows:

       1.         Counsel of record for Plaintiff Sonrai is Edward T. Joyce, Rowena T. Parma, and

Victoria Patreese Worley of Edward T. Joyce & Associates P.C., and Joan M. Mannix of Joan M.

Mannix, Ltd.

       2.         Plaintiff Sonrai wishes to substitute J. Scott Humphrey, Katie Burnett, Samuel

Ruggio, and Samantha Roth of the law firm Benesch, Friedlander, Coplan & Aronoff LLP as their

counsel in this litigation and the related case. Attorney J. Scott Humphrey is a member of the Trial


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Bar of the Northern District of Illinois. Attorneys Katie Burnett, Samuel Ruggio, and Samantha

Roth are members of the General Bar of the Northern District of Illinois.

       3.      No harm or prejudice will occur to Sonrai or WCI if J. Scott Humphrey, Katie

Burnett, Samuel Ruggio, and Samantha Roth are permitted to appear as counsel for Sonrai.

       4.      In addition, WCI does not object to J. Scott Humphrey, Katie Burnett, Samuel

Ruggio, and Samantha Roth appearing as counsel for Sonrai.

       5.      On December 23, 2021, WCI filed a Motion to Dismiss Sonrai’s Amended

Complaint (“Motion”). (ECF Nos. 15, 38-39.) This Court ordered Sonrai to respond to the Motion

by January 20, 2022, and Defendant to file any reply by January 27, 2022 (ECF No. 41.).

       6.      In its Motion, WCI claims that it is nothing more than a “holding company” and

not subject to the jurisdiction of this Court because, among other things, it never “conducted

business of any kind with Sonrai in Illinois (or elsewhere).” (ECF No. 39, pp. 1, 5).

       7.      The Declaration of Domenico D. Pio, President of Waste Connections of Canada,

Inc., a company affiliated with WCI, alleges that another affiliate of WCI, BFI Canada, which

changed its name to Progressive Waste Solutions Canada Inc., did business with Sonrai. (Id. at

Pio affidavit, ¶ 14). Based upon the allegations in WCI’s Motion and the statements contained in

Mr. Pio’s declaration, jurisdictional discovery may be necessary in order for Sonrai to respond to

the Motion’s jurisdictional allegations and arguments.

       8.      Counsel for Sonrai and counsel for WCI have discussed the Motion and, in

particular, the Motion’s allegations that Sonrai named the wrong defendant in its Complaint.

During these discussions, counsel have discussed the need for jurisdictional discovery and/or

reaching an agreement on the appropriate defendant for this matter. If the parties can agree on the




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correct defendant and that the defendant is subject to this Court’s jurisdiction, then jurisdictional

discovery would not be necessary.

       9.      Although counsel for Sonrai and WCI continue to discuss the possibility of

avoiding jurisdictional discovery and reaching an agreement on the proper defendant that would

render WCI’s jurisdictional argument moot, no agreement has been reached at this time.

       10.     Accordingly, and in order to allow the parties time to reach a potential resolution

on the jurisdictional arguments raised in the Motion, Sonrai respectfully requests that the Court set

a status conference on the Motion within the next 14 days. At the status conference, the parties

can inform the Court of any agreement reached regarding the jurisdictional allegations and

arguments raised in the Motion.

       11.     In the alternative, Sonrai seeks a 28-day extension of the January 20, 2022 due date

to February 18, 2022 to respond to WCI’s Motion.

       12.     Sonrai’s request is based, in part, on the need for Attorneys J. Scott Humphrey,

Katie Burnett, Samuel Ruggio, and Samantha Roth to get up to speed on this case.

       13.     Although Attorneys J. Scott Humphrey, Katie Burnett, Samuel Ruggio, and

Samantha Roth have been diligent in obtaining documents and information on this case from

sources such as Sonrai and Pacer, documents and information contained within the files of Sonrai’s

current counsel are necessary in order to provide a complete response to WCI’s Motion.

       14.     Unfortunately, current counsel for Sonrai, Edward T. Joyce, and two of his staff

recently contracted COVID-19. As a result, counsel for Sonrai is currently unable to immediately

transfer the entire case file and/or fully contribute to responding to WCI’s Motion.

       15.     Attorneys J. Scott Humphrey, Katie Burnett, Samuel Ruggio, and Samantha Roth

believe that they will have all of the necessary documents and information from Sonrai’s current



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counsel in the next seven (7) to fourteen (14) days. Upon receiving the complete file from Sonrai’s

current counsel, attorneys J. Scott Humphrey, Katie Burnett, Samuel Ruggio, and Samantha Roth

will immediately review the file and will work diligently to respond to WCI’s Motion.

         16.    Accordingly, this substitution and extension are not sought for purposes of delay

and will not prejudice WCI. This especially true since a trial date for this matter has not been set.

         WHEREFORE Plaintiff Sonrai Systems, LLC respectfully requests that this Court enter an

order:

         a.     withdrawing the appearances of Edward T. Joyce, Rowena T. Parma, and Victoria
                Patreese Worley of Edward T. Joyce & Associates P.C. and Joan M. Mannix of
                Joan M. Mannix, Ltd.;

         b.     granting J. Scott Humphrey, Katie Burnett, Samuel Ruggio, and Samantha Roth of
                the law firm Benesch, Friedlander, Coplan & Aronoff LLP leave to file appearances
                on Plaintiff’s behalf;

         c.     scheduling a status conference in the next 14 days regarding Defendant Waste
                Connections, Inc.’s Motion to Dismiss or, in the alternative, granting Sonrai until
                February 18, 2022 to respond to the Motion; and

         d.     any and all other relief that this Court deems proper and just.



Dated: January 19, 2022                               Respectfully submitted,
                                                              /s/ J. Scott Humphrey
                                                      J. Scott Humphrey
                                                      Katie Burnett
                                                      Samuel Ruggio
                                                      Samantha Roth
                                                      BENESCH, FRIEDLANDER, COPLAN &
                                                      ARONOFF LLP
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                                                      Chicago, Illinois 60606-4637
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                                CERTIFICATE OF SERVICE

The undersigned certifies that on January 19, 2022, he served a copy of the foregoing on all

counsel of record via electronic case filing procedures.


                                                                   /s/ J. Scott Humphrey
                                                            One of the Attorneys for Plaintiff




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